252 F.2d 240
    Anastasios MOULAS (and his Proctors of Record), Appellants,v.THE S/S MARKAB, her boats, ships, tackle, apparel, etc., A.Sturt, individually and as Master, Bury Hill Shipping Co.,Ltd., and Phocean Ship Agency, Ltd., as owners and/oroperators of the British S/S Markab, Appellees.
    No. 7572.
    United States Court of Appeals Fourth Circuit.
    Argued Jan. 22, 1958.Decided Feb. 18, 1958.
    
      J. L. Morewitz, Newport News, Va.  (Morewitz &amp; Morewitz, Newport News, Va., on brief), for appellants.
      Roy L. Sykes, Norfolk, Va.  (R. Arthur Jett, Norfolk, Va., on brief), for appellees.
      Before PARKER, Chief Judge, and SOBELOFF and HAYNSWORTH, Circuit judges.
      PER CURIAM.
    
    
      1
      This is another seaman's case in which there has been failure to comply with our rules as to filing of briefs and in which there is no such showing of merit as to warrant our overlooking the failure to comply.  Counsel for appellant and respondent had agreed upon a settlement for $3,000 and requested at a pre-trial conference that the cause not be set for hearing.  There was delay on the part of respondent in complying with the agreement and counsel for appellant moved for default judgment.  At the hearing on this motion an order was entered to the effect that judgment for $3,000 and interest in accordance with the settlement would be granted unless payment was made within twenty days.  Payment was not made within that period and counsel for appellant rejected a tender of the principal sum plus interest for the period of delay, apparently because it was a few dollars short.  Appellant then made motion for judgment in accordance with the terms of the order.  Judgment was signed for the amount agreed upon with interest to the date of tender, and appellant entered this appeal asking that the case be tried on the merits without regard to the settlement.  The appeal is frivolous and will be dismissed for that reason as well as for failure to comply with the rules of this Court with regard to the filing of briefs.
    
    
      2
      Appeal dismissed.
    
    